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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

IN RE:                              §
                                    §
JULIET HOMES, LP                    §     CASE NO.07-36424-H1-7
                                    §     (Chapter 7)
      DEBTOR                        §
                                    §
JULIET GP, LLC                      §     CASE NO. 07-36426
                                    §
      DEBTOR                        §     (Chapter 7)
                                    §
IN RE;                              §
                                    §
DOUGLAS A. BROWN                    §
                                    §
      DEBTOR                        §     (Chapter 7)
______________________________________________________________________________
_

JOSEPH M. HILL, TRUSTEE                        §
AND W, STEVE SMITH, TRUSTEE                    §
                                               §
       PLAINTIFFS                              §
                                               §
v.                                             §       Adversary No. 09-3429
                                               §
ALEX ORIA ET AL                                §
                                               §
       DEFENDANTS                              §

                 DEMAND OF MUDUGANTI J. REDDY FOR JURY TRIAL

To the Honorable Judge of said Court:

       COMES NOW, MUDUGANTI J. REDDY, named Defendant in the above-referenced

adversary matter, and files this his Demand for Jury Trial, in accordance with Federal Rule of

Civil Procedure 38, a jury trial on all issues, including, but not limited to, issues related to fraud

and fraudulent transfers..
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Dated: January 2, 2009

                                              Respectfully submitted,

                                              /s/Marilee A. Madan______________________
                                              Marilee A. Madan
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                                              Fed. I.D. No. 2992
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                                              Attorney for Defendant




                                 CERTIFICATE OF SERVICE

        Please be advised that the undersigned hereby certifies that a true and correct copy of the
foregoing Demand of Muduganti J. Reddy for Jury Trial has been served upon counsel and
parties listed below and to other parties requesting notice via the ECF electronic notification
system, via electronic mail notification, or first class mail postage prepaid or facsimile this 4th
day of January, 2010.


                                              /s/Marilee A. Madan_________________
                                              Marilee A. Madan


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